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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8
     UNITED STATES OF AMERICA,
 9
                             Plaintiff,                     No. 2:19-cv-309
10
                    v.
                                                            COMPLAINT
11
     JOY EMMANUEL,
12
                             Defendant.
13

14          Plaintiff, the United States of America, by and through its undersigned attorneys, brings

15   this complaint against Defendant JOY EMMANUEL, and alleges the following:

16                                    I. NATURE OF THIS ACTION

17          1.      Starting as early as 2017 and continuing to the present, Defendant has conducted

18   financial transactions with large sums of illegally obtained money, knowing that his

19   transactions are designed to conceal the nature, source, location, ownership, and control of

20   proceeds. Defendant’s conduct includes knowingly receiving money obtained via fraud and

21   then immediately transmitting the same money to accomplices in India.

22          2.      Defendant conducts U.S. operations for a technical-support scheme based in

23   India. The scheme operates by fraudulently inducing consumers, including principally elderly

     consumers, to purchase phony or otherwise misrepresented technical-support services related to


      COMPLAINT - 1                                                           UNITED STATES ATTORNEY
                                                                                700 Stewart Street, Suite 5220
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 1   computers or other electronic devices, and to make further payments based on additional

 2   fraudulent misrepresentations.

 3          3.      The United States seeks to prevent continuing and substantial injury to the

 4   United States and victims by bringing this action for a permanent injunction and other equitable

 5   relief under 18 U.S.C. § 1345. The United States seeks to enjoin the ongoing commission of

 6   banking law violations as defined in 18 U.S.C. § 3322(d), including money laundering in

 7   violation of 18 U.S.C. § 1956(a)(1)(B) and international money laundering in violation of 18

 8   U.S.C. § 1956(a)(2)(B).

 9                                  II. JURISDICTION AND VENUE

10          4.      This Court has jurisdiction over this action under 18 U.S.C. § 1345 and 28

11   U.S.C. §§ 1331 and 1345.

12          5.      The United States District Court for the Western District of Washington is a

13   proper venue for this action under 28 U.S.C. § 1391(b)(1) & (b)(2) because Defendant is a

14   resident of this district and because a substantial part of the events or omissions giving rise to

15   this Complaint occurred in this district.

16                                               III. PARTIES

17          6.      Plaintiff is the United States.

18          7.      Defendant Joy Emmanuel is a resident of this district, residing in Seattle,

19   Washington. In connection with the matters alleged herein, Defendant transacts and has

20   transacted business in this district. Defendant is the owner and principal of Tech Support Hub

21   LLC, which is domiciled in Washington State.

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 1                                             IV. FACTS

 2               A. Defendant’s Role in an Ongoing Technical-Support Fraud Scheme

 3          8.      Defendant conducts U.S. operations for a large-scale technical-support fraud

 4   scheme that targets victims throughout the United States. Since at least as early as 2017,

 5   telemarketers based in India have used telephone calls and the infrastructure maintained by

 6   Defendant to operate the technical-support scheme. Telemarketers working for the scheme

 7   fraudulently pose as technicians to induce consumers, including principally elderly consumers,

 8   to purchase phony or otherwise misrepresented technical-support services, and to make further

 9   payments based on additional fraudulent misrepresentations. Telemarketers contact consumers

10   by means such as placing cold calls; paying search engines to place advertisements for

11   technical computer services; and by using pop-up advertisements disguised as security alerts on

12   computers or other electronic devices that direct consumers to immediately call a telephone

13   number to protect their computer or other electronic device. The telemarketers often falsely

14   claim to work for or be affiliated with large, well-known technology companies.

15          9.      Once a telemarketer has a consumer on the phone, the telemarketer emphasizes

16   the need for immediate action, and claims that the consumer’s computer is at risk and that the

17   telemarketer can assist but first needs remote access to the computer or device. Once remotely

18   connected, the telemarketer purports to confirm the existence of a serious computer virus or

19   other threat to the consumer’s computer or device, sometimes claiming that hackers have

20   already taken over the consumer’s computer or email accounts and displaying a screen

21   purporting to show, in real time, that the device was undergoing a further hacking attack as the

22   telemarketer and consumer spoke. Imparting a sense of urgency, the telemarketer then claims

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 1   that he will install expensive and high-quality network security software to resolve the threat in

 2   exchange for a substantial sum of money.

 3          10.     After purportedly installing high-quality network security software, the

 4   telemarketer instructs the consumer to pay. Consumers are generally asked to provide their

 5   personal checking-account information, which is then used to generate remotely-created checks

 6   made payable to one of Defendant’s bank accounts. Each consumer is charged between several

 7   hundred and several thousand dollars.

 8          11.     At times during the scheme, consumers who have already paid Defendant once

 9   for technical-support receive subsequent calls, during which telemarketers working for the

10   scheme give consumers phony new reasons they must purchase additional security software to

11   avoid serious new computer viruses or other threats to their devices.

12          12.     At times during the scheme, telemarketers purport to offer refunds to victims.

13   But, instead of refunding money to victims, the telemarketers actually move money within the

14   consumers’ online bank accounts to convince the victims that too much money was refunded.

15   The telemarketers then induce victims to send payments, purportedly to reimburse the “over-

16   refund.” Victims have lost hundreds or thousands of dollars to such bogus refund schemes.

17          13.     The scheme’s perpetrators use Defendant and his U.S. corporate entity to

18   facilitate their schemes by (a) maintaining the schemes’ infrastructure, including (b) receiving

19   victim payments and (c) generally providing a veneer of domestic legitimacy.

20                                B. Ongoing Banking Law Violations

21          14.     Defendant conducts financial transactions to benefit an international fraud

22   scheme, knowing that the money he receives and transmits is obtained fraudulently, and

23   knowing that his transactions are designed to conceal the scheme. Defendant receives financial




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 1   compensation for this conduct, often by transmitting to his accomplices 60% of the amounts

 2   that he receives and keeping the remaining 40% for himself.

 3          15.     Beginning at least as early as 2017, Defendant has knowingly accepted tens of

 4   thousands of dollars from multiple fraud victims and then transmitted most of that money to

 5   accomplices in the technical-support telemarketing fraud scheme.

 6          16.     Between June 1, 2017, and August 3, 2018 alone, Defendant deposited over

 7   $40,000 in remotely-created checks that were returned as unpayable, for reasons that included

 8   victims’ closing their checking accounts to prevent unauthorized transactions; insufficient

 9   funds; and victims’ stopping payment on grounds of fraud.

10     C. Defendant’s Knowledge of Fraud, Intent to Conceal the Nature, Source, Location,
            Ownership, or Control of Proceeds, and Intent to Evade Transaction Reporting
11                                         Requirements

12          17.     On information and belief, Defendant has engaged in the financial transactions

13   alleged in Paragraphs 14 through 16 with knowledge that the monies he receives from

14   consumers are obtained by the fraud scheme or other specified unlawful activity. On

15   information and belief, Defendant has engaged in such financial transactions knowing that the

16   transmissions are designed in whole or part to conceal or disguise the nature, source, location,

17   ownership, or control of proceeds, and has transmitted such funds to India with the intent to

18   promote the carrying on of specified unlawful activity.

19                                   D. Harm to the United States

20          18.     The United States is suffering continuing and substantial injury from

21   Defendant’s banking law violations.

22          19.     Defendant is continuing to facilitate his banking law violations. Absent

23   injunctive relief by this Court, Defendant will continue to cause continuing and substantial

     injury to the United States and victims.


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 1                                                COUNT I

 2                                  (18 U.S.C. § 1345 – Injunctive Relief)

 3             20.     The United States re-alleges and incorporates by reference Paragraphs 1 through

 4   22 of this Complaint as though fully set forth herein.

 5             21.     By reason of the conduct described herein, Defendant has committed, is

 6   committing, and is about to commit banking law violations as defined in 18 U.S.C. § 3322(d),

 7   including money laundering and international money laundering with the intent to promote the

 8   carrying on of specified unlawful activity in violation of 18 U.S.C. § 1956(a)(1)(A)(i) and

 9   (a)(2)(A); and money laundering and international money laundering knowing that the

10   transaction is designed in whole or in part to conceal or disguise the nature, the location, the

11   source, the ownership, or the control of the proceeds of specified unlawful activity, in violation

12   of 18 U.S.C. §1956(a)(1)(B)(i) and (a)(2)(B)(i).

13             22.     Because Defendant is committing or about to commit banking law violations as

14   defined in 18 U.S.C. § 3322(d), the United States is entitled, under 18 U.S.C. § 1345, to seek a

15   permanent injunction restraining all future banking law violations and any other action that this

16   Court deems just to prevent a continuing and substantial injury to the United States.

17             23.     As a result of the foregoing, Defendant’s conduct should be enjoined pursuant to

18   18 U.S.C. § 1345.

19                                      VI. PRAYER FOR RELIEF

20             WHEREFORE, Plaintiff, United States of America, requests of the Court the following

21   relief:

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 1          A.       That the Court issue a permanent injunction, pursuant to 18 U.S.C. § 1345,

 2   ordering that Defendant is restrained from engaging, participating, or assisting in money

 3   laundering or international money laundering, and any money transmitting business; and

 4          B.       That the Court order such other and further relief as the Court shall deem just

 5   and proper.

 6

 7   Respectfully submitted this 1st day of March, 2019.

 8                                                 ANNETTE HAYES
                                                   United States Attorney
 9
                                                   s/ Kayla C. Stahman
10                                                 KAYLA C. STAHMAN, CA #228931
                                                   Assistant United States Attorney
11                                                 United States Attorney’s Office
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12                                                 Seattle, Washington 98101-1271
                                                   Phone: 206-553-7970
13                                                 Fax: 206-553-4067
                                                   Email: kayla.stahman@usdoj.gov
14
                                                   GUSTAV W. EYLER
15                                                 Acting Director
                                                   Consumer Protection Branch
16
                                                   /s/ Daniel K. Crane-Hirsch
17                                                 Daniel K. Crane-Hirsch
                                                   Consumer Protection Branch
18                                                 United States Department of Justice
                                                   P.O. Box 386
19                                                 Washington, DC 20044
                                                   Tel.: 202-616-8242
20                                                 Fax: 202-514-8742
                                                   Email: daniel.crane-hirsch@usdoj.gov
21
                                                   Counsel for United States of America
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      COMPLAINT - 7                                                            UNITED STATES ATTORNEY
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 1                                    CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that he is an employee in the Office of the United

 3   States Attorney for the Western District of Washington and is the person of such age and

 4   discretion as to be competent to serve papers;

 5          It is further certified that on this day, I mailed by United States Postal Service said

 6   pleading to Defendant, addressed as follows:

 7          Joy Emmanuel
            13540 Wallingford Ave N
 8          Seattle, WA 98133-7741

 9          Dated this 1st day of March, 2019.

10                                                  /s/ Thomas Everett
                                                    THOMAS EVERETT
11                                                  Paralegal
                                                    United States Attorney’s Office
12                                                  700 Stewart Street, Suite 5220
                                                    Seattle, Washington 98101-1271
13                                                  Phone: (206) 553-7970
                                                    Fax: (206) 553-0882
14                                                  E-mail: thomas.everett@usdoj.gov

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10                                                  /s/ Thomas Everett
                                                    THOMAS EVERETT
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                                                    Fax: (206) 553-0882
14                                                  E-mail: thomas.everett@usdoj.gov

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      [PROPOSED] CONSENT DECREE                                                 UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
      AND FINAL JUDGMENT - 6
                                                                                 Seattle, Washington 98101-1271
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